6:22-cv-03508-HMH   Date Filed 09/07/23   Entry Number 189-1       Page 1 of 20




                                      Jane Doe 1, et al. v. Varsity Brands, LLC, et al.
                                                      Case No. 6:22-cv-02957-HMH
                                            Jane Doe 8 v. Varsity Brands, LLC, et al.
                                                      Case No. 6:22-cv-03508-HMH
                                            Jane Doe 9 v. Varsity Brands, LLC, et al.
                                                      Case No. 6:22-cv-03509-HMH
                                           John Doe 3 v. Varsity Brands, LLC, et al.
                                                      Case No. 6:22-cv-03510-HMH




                           Exhibit A
              6:22-cv-03508-HMH                    Date Filed 09/07/23                Entry Number 189-1                    Page 2 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          District ofDistrict
                                                       __________     South Carolina
                                                                              of __________
        Jane Doe 1, Jane Doe 2, Jane Doe 3, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 6:22-cv-02957-HMH
   Varsity Brands, LLCC; Varsity Spirit, LLC, Varsity                         )
         Brands Holding Company, Inc., et al.                                 )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                      GOOGLE, LLC
                       Corporation Service Company, 508 Meeting Street, West Columbia, South Carolina 29169
                                                       (Name of person to whom this subpoena is directed)
      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Please see attachment A for requests for production.



 Place: McGowan Hood Felder & Phillips, LLC                                             Date and Time:
          1539 Health Care Drive                                                                             September 18, 2023
          Rock Hill, SC 29732

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff Jane Doe 1
                                                                        , who issues or requests this subpoena, are:
1539 Health Care Drive, Rock Hill, SC 29732; (803) 327-7800; rhood@mcgowanhood.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                6:22-cv-03508-HMH                  Date Filed 09/07/23                Entry Number 189-1                   Page 3 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 6:22-cv-02957-HMH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0       .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
               6:22-cv-03508-HMH                     Date Filed 09/07/23                 Entry Number 189-1                     Page 4 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
6:22-cv-03508-HMH         Date Filed 09/07/23      Entry Number 189-1        Page 5 of 20




                                     ATTACHMENT A
a. Definitions and Instructions
As used herein, the following words shall have the meanings indicated:
1. “Document” shall mean any kind of written or graphic matter, however produced or
   reproduced, of any kind or description, whether sent or received or neither, including
   originals, copies and drafts thereof, and including but not limited to: papers, book,
   letters, correspondence, telegrams, cables, telex messages, memoranda, notes, notations,
   work papers, intra-corporate communications, calendar or diary entries, appointment
   books, minutes, transcripts, agendas, reports, and recordings of telephone or other
   conversations, or of interviews, or of conferences or other meetings, statements,
   summaries, opinions, reports, studies, analyses, evaluations, contracts, agreements,
   journals, statistical records, lists, tabulations, all other records kept by electronic,
   photographic or mechanical means, things similar to the foregoing, however
   denominated, “writings” and “recordings” as defined in Rule 1001(1) of the Federal
   Rules of Evidence, and other documents as defined or contemplated in Rule 34 of the
   Federal Rules of Civil Procedure
2. You,” “Your,” and/or “the Company,” refers to the company and/or entity subject to this
   subpoena, and any employees, executives, affiliates, subsidiaries, or assigns, and includes
   counsel for the subject Company.
3. “And” and “or” as used herein are both conjunctive and disjunctive.
4. “Each” shall be construed to include the word “every” and “every” shall be construed to
   include the word “each”.
5. “Any” shall be construed to include “all”, and “all” shall be construed to include “any”.
6. Where the context herein makes it appropriate, each singular word shall include its plural
   and each plural word shall include its singular.
7. The present tense shall be construed to include the past tense and the past tense shall be
   construed to include the present tense.
8. “Pertaining to”, “relating to”, “pertain to”, or “relate to” mean referring to, relating to,
   alluding to, responding to, discussing, commenting upon, showing, disclosing, analyzing,
   reporting about, explaining, mentioning, constituting, compromising, evidencing, setting
   forth, containing, summarizing or characterizing, either directly or indirectly, in whole or
   in part, the given subject matter.
9. Unless specifically set forth herein, these requests seek information from January 1, 2015
   to present;
10. These requests seeks information pertaining and related to Civil Action Nos. 6:22-cv-
    02957-HMH; 6:22-03508-HMH; 6:22-cv-03509-HMH; and 6:22-cv-03510-HMH,
    pending in the District of South Carolina, Greenville Division before the Honorable
   6:22-cv-03508-HMH          Date Filed 09/07/23    Entry Number 189-1       Page 6 of 20




       Henry M. Herlong, Senior District Court Judge, which contain allegations of abuse and
       misconduct against the Plaintiffs, Jane Does 1-9 and John Does 1-3.
   b. Requests
       Please produce the following information, documents, content, material, media or
medium regarding any account in the name of the following individuals and/or entities or any
handles associated with same:
   Scott Foster of Greenville, South Carolina
   Katherine Ann Foster of Greenville, South Carolina
   Kenny Feeley
   Trayevon Black
   Peter Holley
   Jarred Carruba
   Christopher Hinton
   Josh Guyton
   Nathan Allan Plank
   Rockstar Greenville South Carolina
   Rockstar Cheer
   U.S. All-Star Federation
   Safe@Allstar
   Varsity Spirit
   Varsity AllStar
   Varsity Brands
   Varsity Brands Holding, Co.
   1. Any Illegal Content associated with the person: Content that violates the law,
      including child sexual abuse material (CSAM), is prohibited on all Google platforms.
      Google collaborates with law enforcement agencies and non-governmental organizations
      around the world to report and combat the distribution of this material. Please produce
      any such illegal content for any persons named above.
   2. Any Automatic Detection associated with his person: Google uses advanced
      technologies to automatically detect and report inappropriate and illegal content,
      especially CSAM. If someone tries to use Google's platforms to share this kind of
      material, the company can report them to the relevant authorities.
6:22-cv-03508-HMH         Date Filed 09/07/23       Entry Number 189-1         Page 7 of 20




3. Any Account Termination associated with this person: Google's terms of service grant
   the company the right to suspend or terminate accounts that violate their policies or the
   law. If someone is found to be distributing or promoting illegal content, their account can
   be suspended or permanently banned.
4. Any Collaboration with NGOs and Law Enforcement associated with this person:
   Google collaborates with NGOs and governmental bodies like the National Center for
   Missing & Exploited Children (NCMEC) in the US to report instances of CSAM and take
   action against the perpetrators.
5. Any SafeSearch and Filters associated with this person: For its search engine, Google
   provides features like SafeSearch, which help filter out explicit content from search
   results. While this is mostly used for filtering out adult content in general, it also plays a
   role in ensuring illegal content doesn't appear in search results.
6. Any Reporting Mechanisms associated with this person: Google provides mechanisms
   for users to report inappropriate or illegal content they come across on Google platforms.
7. Any Prevention and Education associated with this person: Google also undertakes
   efforts to educate users about online safety, child protection, and ways to report any
   suspicious activities they encounter.
8. Any Account Information associated with this person: This includes basic details such
   as your name, email address, phone number, and password that you use to create a
   Google account.
9. Any Search History associated with this person: Google records the searches you
   make when you're signed into your Google account, unless you've paused your search
   history.
10. Any Location Data associated with this person: If you use services like Google Maps
    or have location services enabled on your device, Google may collect and store location
    data.
11. Any Usage Data associated with this person: Information about how you use Google
    services, such as watching history on YouTube, visited websites on Chrome (if you sync
    your browsing history), and interactions with content and ads.
12. Any Device Information associated with this person: Details about the devices where
    you use Google services, including hardware models, operating system, unique device
    identifiers, and network information.
13. Any Apps and Services associated with this person: Data about apps, browsers, and
    devices you use to access Google services, including the IP address, crash reports, system
    activity, and the date, time, and URL of your request.
6:22-cv-03508-HMH         Date Filed 09/07/23       Entry Number 189-1        Page 8 of 20




14. Any Gmail Data associated with this person: Emails you send and receive through
    Gmail, including recipients and senders' addresses, date and time stamps, and the content
    of those emails.
15. Any Contacts associated with this person: If you use Google Contacts, it will have the
    contact information you've saved.
16. The contents of the Google Drive associated with this person: Documents, photos,
    videos, and other files that you save in Google Drive.
17. All Photos and Videos associated with this person: Media you upload to Google
    Photos.
18. Any Voice Commands associated with this person: If you use Google Assistant or
    Voice Search, your voice commands are recorded and can be stored.
19. Any Activity on Third-Party Sites associated with this person: If you use Google to
    log into third-party sites or if these sites use Google advertising or analytics services,
    some of your activity on these sites might be collected.
20. Any Cookies and Tracking associated with this person: Google uses cookies and
    similar technologies to track your online behavior and preferences.
21. All information and documents from YouTube associated with this person: Your
    watch history, uploaded videos, comments, likes, and subscriptions.
              6:22-cv-03508-HMH                    Date Filed 09/07/23                Entry Number 189-1                    Page 9 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          District of
                                                       __________     South of
                                                                    District Carolina
                                                                               __________
                        Jane Doe 1, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 6:22-02957-HMH
                   Varsity Spirit, LLC, et al.                                )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
        Meta Platforms, Inc.; c/o Corporation Service Company dba CSC-Lawyers Incorporating Service, Inc., Reg. Agent
To:
                                  2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attachment A


 Place:                                                                                 Date and Time:
          Strom Law Firm, LLC
                                                                                                            09/12/2023 10:00 am
          6923 N. Trenholm Rd., Suite 200, Columbia, SC 29206

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        08/22/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                      s/ Jessica L. Fickling, Fed. ID No. 11403
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Jane Doe 1, et al.
                                                                        , who issues or requests this subpoena, are:
Jessica L. Fickling, 6923 N. Trenholm Rd., Suite 200, Columbia, SC 29206; (803) 252-4800; jfickling@stromlaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                6:22-cv-03508-HMH                 Date Filed 09/07/23                Entry Number 189-1                   Page 10 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 6:22-02957-HMH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
              6:22-cv-03508-HMH                     Date Filed 09/07/23                 Entry Number 189-1                     Page 11 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
  6:22-cv-03508-HMH         Date Filed 09/07/23       Entry Number 189-1         Page 12 of 20




                                         ATTACHMENT A

   A. DEFINITIONS AND INSTRUCTIONS
As used herein, the following words shall have the meanings indicated:
   1. “Document” shall mean any kind of written or graphic matter, however produced or
      reproduced, of any kind or description, whether sent or received or neither, including
      originals, copies and drafts thereof, and including but not limited to: papers, book, letters,
      correspondence, telegrams, cables, telex messages, memoranda, notes, notations, work
      papers, intra-corporate communications, calendar or diary entries, appointment books,
      minutes, transcripts, agendas, reports, and recordings of telephone or other conversations,
      or of interviews, or of conferences or other meetings, statements, summaries, opinions,
      reports, studies, analyses, evaluations, contracts, agreements, journals, statistical records,
      lists, tabulations, all other records kept by electronic, photographic or mechanical means,
      things similar to the foregoing, however denominated, “writings” and “recordings” as
      defined in Rule 1001(1) of the Federal Rules of Evidence, and other documents as defined
      or contemplated in Rule 34 of the Federal Rules of Civil Procedure

   2. You,” “Your,” and/or “the Company,” refers to the company and/or entity subject to this
      subpoena, and any employees, executives, affiliates, subsidiaries, or assigns, and includes
      counsel for the subject Company.

   3. “And” and “or” as used herein are both conjunctive and disjunctive.

   4. “Each” shall be construed to include the word “every” and “every” shall be construed to
      include the word “each”.

   5. “Any” shall be construed to include “all”, and “all” shall be construed to include “any”.

   6. Where the context herein makes it appropriate, each singular word shall include its plural
      and each plural word shall include its singular.

   7. The present tense shall be construed to include the past tense and the past tense shall be
      construed to include the present tense.

   8. “Pertaining to”, “relating to”, “pertain to”, or “relate to” mean referring to, relating to,
      alluding to, responding to, discussing, commenting upon, showing, disclosing, analyzing,
      reporting about, explaining, mentioning, constituting, compromising, evidencing, setting
      forth, containing, summarizing, or characterizing, either directly or indirectly, in whole or
      in part, the given subject matter.

   9. Unless specifically set forth herein, these requests seek information from January 1, 2015
      to present;
6:22-cv-03508-HMH          Date Filed 09/07/23   Entry Number 189-1       Page 13 of 20




10. These requests seeks information pertaining and related to Civil Action Nos. 6:22-cv-
    02957-HMH; 6:22-03508-HMH; 6:22-cv-03509-HMH; and 6:22-cv-03510-HMH,
    pending in the District of South Carolina, Greenville Division before the Honorable Henry
    M. Herlong, Senior District Court Judge, which contain allegations of abuse and
    misconduct against the Plaintiffs, Jane Does 1-9 and John Does 1-3.


B. IDENTIFICATION OF SPECIFC PERSONS TO SEARCH FOR REQUESTED
   DOCUMENTS OR INFORMATION

Scott Foster of Greenville, South Carolina

Katherine Ann Foster of Greenville, South Carolina

Jeff Webb

Kenny Feeley

Trayevon Black

Peter Holley/Peter@acxcheer.com

Jarred Carruba

Christopher Hinton/Christopher_hinton/#tumblelikehinton

Josh Guyton/SCjoshguyton17

Nathan Allan Plank

Rockstar Greenville South Carolina

Rockstar Cheer

U.S. All-Star Federation

Safe@Allstar

Varsity Spirit

Varsity AllStar

@Varsity_brands

@bsnsports
  6:22-cv-03508-HMH         Date Filed 09/07/23       Entry Number 189-1          Page 14 of 20




   @herffjones

   C. SPECIFC INFORMATION AND/OR DOCUMENTS REQUESTED

Please produce the following information, documents, content, material, media or medium
regarding any account in the name of the above individuals and/or entities or any handles
associated with same:
   1. Any Illegal Content associated with each specifically named person;

   2. Any Automatic Detection associated with this person or individual;

   3. Any documents signifying or justifying Account Termination associated with this person;

   4. Any correspondence, communications, and/or collaborations between you and any NGOs
      (non-governmental organizations) and Law Enforcement associated with this person,
      entity, or account;

   5. Any SafeSearch or other filters specifically intended to identify and prevent explicit
      content associated with this person, entity, or account;

   6. Any reports generated related to this person, entity, and/or account any explicit content;

   7. Any Account Information associated with this person, entity, or account including basic
      details such as a name, email address, phone number, and other demographic or contact
      information;

   8. Any Search History associated with this person;

   9. Any Location Data associated with this person;

   10. Any Usage Data associated with this person;

   11. Any Device Information associated with this person;

   12. Any direct messages sent or received by this person, entity, or account;

   13. Any accounts followed by this account, entity, or person;

   14. Any posts (including deleted posts) for this account, entity, or person;

   15. All Photos and Videos associated with this person, entity, or account;

   16. Any Activity on Third-Party Sites associated with this person.
             6:22-cv-03508-HMH                    Date Filed 09/07/23                Entry Number 189-1                    Page 15 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          District of
                                                       __________     South of
                                                                    District Carolina
                                                                               __________
                        Jane Doe 1, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 6:22-02957-HMH
                   Varsity Spirit, LLC, et al.                                )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
           Snapchat, Inc.; c/o Corporation Service Company dba CSC-Lawyers Incorporating Service, Inc., Reg. Agent
To:
                                 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attachment A


 Place:                                                                                 Date and Time:
          Strom Law Firm, LLC
                                                                                                            09/12/2023 10:00 am
          6923 N. Trenholm Rd., Suite 200, Columbia, SC 29206

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        08/22/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                      s/ Jessica L. Fickling, Fed. ID No. 11403
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Jane Doe 1, et al.
                                                                        , who issues or requests this subpoena, are:
Jessica L. Fickling, 6923 N. Trenholm Rd., Suite 200, Columbia, SC 29206; (803) 252-4800; jfickling@stromlaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                6:22-cv-03508-HMH                 Date Filed 09/07/23                Entry Number 189-1                   Page 16 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 6:22-02957-HMH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
              6:22-cv-03508-HMH                     Date Filed 09/07/23                 Entry Number 189-1                     Page 17 of 20

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
  6:22-cv-03508-HMH         Date Filed 09/07/23       Entry Number 189-1         Page 18 of 20




                                         ATTACHMENT A

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   2. You,” “Your,” and/or “the Company,” refers to the company and/or entity subject to this
      subpoena, and any employees, executives, affiliates, subsidiaries, or assigns, and includes
      counsel for the subject Company.

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      include the word “each”.

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6:22-cv-03508-HMH          Date Filed 09/07/23   Entry Number 189-1       Page 19 of 20




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  6:22-cv-03508-HMH         Date Filed 09/07/23       Entry Number 189-1          Page 20 of 20




   @herffjones

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regarding any account in the name of the above individuals and/or entities or any handles
associated with same:
   1. Any Illegal Content associated with each specifically named person;

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      details such as a name, email address, phone number, and other demographic or contact
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   16. Any Activity on Third-Party Sites associated with this person.
